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 1 Joel E. Elkins (SBN 256020)
   jelkins@weisslawllp.com
 2 WEISSLAW LLP
   9100 Wilshire Blvd. #725 E.
 3 Beverly Hills, CA 90210
   Telephone: 310/208-2800
 4 Facsimile: 310/209-2348

 5 Attorney for Movants Yu and Snow

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 7
                                 UNITED STATES DISTRICT COURT
 8
 9                            NORTHERN DISTRICT OF CALIFORNIA

10    DONALD RAMSEY, Individually and on            )    Case No.: 3:21-cv-05634-VC
      Behalf of All Others Similarly Situated,      )
11                                                  )    [PROPOSED] ORDER
                                     Plaintiff,     )    CONSOLIDATING RELATED
12                                                  )    ACTIONS AND APPOINTING LEAD
                                                    )    PLAINTIFFS AND CO-LEAD
                     vs.                            )    COUNSEL
13
                                                    )
14    COINBASE GLOBAL, INC., et al.,                )    CLASS ACTION
                                                    )
15                                   Defendants.    )    Judge: Vince Chhabria
                                                    )    Hearing Date: October 28, 2021
16                                                  )    Time: 2:00 pm
                                                    )    Ctrm: Courtroom 4, 17th Floor
17                                                  )
     GABBY KLEIN, Individually and on               )    Case No.: 3:21-cv-06049
18   Behalf of All Others Similarly Situated        )
                                                    )
19                         Plaintiff,               )
                                                    )
20                                 v.               )
     COINBASE GLOBAL, INC., et. al,                 )
21                                                  )
                                   Defendants._____ )
22   MATTHEW CATTERLIN, Individually and on )            Case No.: 3:21-cv-06149
     Behalf of All Others Similarly Situated        )
23                                                  )
                           Plaintiff,               )
24                                                  )
                                   v.               )
25   COINBASE GLOBAL, INC., et. al,                 )
                                                    )
26                                 Defendants._____ )

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28                                                 -1-
                 [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS AND APPOINTING
                              LEAD PLAINTIFFS AND CO-LEAD COUNSEL
                                        No. 3:21-cv-05634-VC
           Case 3:21-cv-05634-VC Document 39-1 Filed 09/20/21 Page 2 of 3




 1          WHEREAS, the above-captioned securities class actions were filed against Coinbase Global,

 2 Inc., et al. (collectively “Defendants”), alleging violations of the federal securities laws;

 3          WHEREAS, these actions involve common issues of fact and law;

 4          WHEREAS, pursuant to the Private Securities Litigation Reform Act of 1995 (“PSLRA”) and

 5 15 U.S.C. § 77z-1(a)(3)(A)(i), on July 22, 2021, notice was issued to potential class members of the

 6 action and informed them of their right to move to serve as lead plaintiff within 60 days of the date

 7 of the issuance of said notice;

 8          WHEREAS, on September 20, 2021, Movants Hsiu-Mei Yu and Minorka Snow (“Movants”
 9 or “Coinbase Investor Group”) timely moved the Court to appoint Movants as Lead Plaintiffs and

10 approve Movants’ selection of WeissLaw LLP (“WeissLaw”) and Federman & Sherwood

11 (“Federman”) as Co-Lead Counsel;

12          WHEREAS, the PSLRA, provides, inter alia, that the most-adequate plaintiff to serve as lead
13 plaintiff is the person or group of persons that has either filed a complaint or has made a motion in

14 response to a notice, and has the largest financial interest in the relief sought by the Class and satisfied

15 the pertinent requirements of Fed. R. Civ. P. 23; and

16          WHEREAS, the Court finding that Movants have the largest financial interests in this action
17 and prima facie satisfy the typicality and adequacy requirements of Fed. R. Civ. P. 23. See 15 U.S.C.

18 § 77z-1(a)(3)(B)(iii)(I);

19 IT IS HEREBY ORDERED THAT:

20          APPOINTMENT OF LEAD PLAINTIFF AND COUNSEL

21          1.      The above-captioned actions are consolidated for all purposes (the “Consolidated

22 Action”). This order (the “Order”) shall apply to the Consolidated Action and to each case that relates

23 to the same subject matter that is subsequently filed in this Court or is transferred to this Court and

24 consolidated with the Consolidated Action. A Master File is established for this proceeding. The

25 Master File shall be captioned: In re Coinbase Securities Action, Case No. 3:21-cv-05634-VC.

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28                                                     -2-
                  [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS AND APPOINTING
                               LEAD PLAINTIFFS AND CO-LEAD COUNSEL
                                         No. 3:21-cv-05634-VC
          Case 3:21-cv-05634-VC Document 39-1 Filed 09/20/21 Page 3 of 3




 1          2.      Pursuant to Section 27 of the Securities Act of 1933, Movants are appointed Lead

 2 Plaintiffs of the Class as Movants have the largest financial interest in this litigation and otherwise

 3 satisfy the requirements of Fed. R. Civ. P. 23.

 4          3.      Movants’ choice of counsel is approved, and accordingly, WeissLaw and Federman

 5 are appointed Co-Lead Counsel.

 6          4.      Co-Lead Counsel, after being appointed by the Court, shall manage the prosecution of

 7 this litigation. Co-Lead Counsel is to avoid duplicative or unproductive activities and is hereby vested

 8 by the Court with the responsibilities that include, without limitation, the following: (1) to prepare all
 9 pleadings; (2) to direct and coordinate the briefing and arguing of motions in accordance with the

10 schedules set by the orders and rules of this Court; (3) to initiate and direct discovery; (4) to prepare

11 the case for trial; and (5) to engage in settlement negotiations on behalf of Lead Plaintiffs and Class.

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14                                                       SO ORDERED:
15
      Dated: __________________, 2021                    _________________________________
16                                                       HON. VINCE CHHABRIA
                                                         UNITED STATES DISTRICT JUDGE
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                  [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS AND APPOINTING
                               LEAD PLAINTIFFS AND CO-LEAD COUNSEL
                                         No. 3:21-cv-05634-VC
